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EXHIBIT 1
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                                       August 21, 2020

VIA ELECTRONIC MAIL

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blutz@gibsondunn.com
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       Re:     In re Facebook, Inc. Consumer Privacy User Profile,
               Northern District of California Case No. 3:18-md-02843-VC


Dear Counsel:

        Plaintiffs write pursuant to paragraph 6.2 of Pretrial Order No. 10: Protective Order to
challenge the confidentiality of certain documents Facebook has produced and designated
confidential in this action. Specifically, Facebook has designated a number of documents
confidential that it produced in its litigation with Six4Three LLC and are now publicly available
at https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-documents/assets/facebook-
sealed-exhibits.pdf.

         Listed below are the bates numbers of the documents Facebook designated as confidential
in this action and the bates numbers of their counterparts that are publicly available:



                                        Publicly Available Counterparts
   Facebook-                             PDF Page of Sealed Exhibits
   Produced                 https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
   Documents                          documents/assets/facebook-sealed-exhibits.pdf
  FB-CA-MDL-       Exhibit 43 at 797/3799
    00188612
                   https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
  FB-CA-MDL-
                   documents/assets/facebook-sealed-exhibits.pdf
    00189441
  FB-CA-MDL-       Exhibit 172 at 3466/3799
    00227873
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                https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 29 at 646/3799
 FB-CA-MDL-
   00177962     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 34 at 704/3799
 FB-CA-MDL-
   00178254     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 35 at 708/3799
 FB-CA-MDL-
   00178146     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 37 at 721/3799
 FB-CA-MDL-
   00183235     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 39 at 747/3799
 FB-CA-MDL-
   00179356     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 42 at 794/3799
 FB-CA-MDL-
   00198496     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 46 at 810/3799
 FB-CA-MDL-
   00183209     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 48 at 820/3799

 FB-CA-MDL-     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
   00183225     documents/assets/facebook-sealed-exhibits.pdf
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                Exhibit 53 at 890/3799
 FB-CA-MDL-
   00183320     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 54 at 894/3799
 FB-CA-MDL-
   00183181     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 56 at 899/3799
 FB-CA-MDL-
   00185088     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 61 at 950/3799
 FB-CA-MDL-
   00195572     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 62 at 956/3799
 FB-CA-MDL-
   00188486     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 165 at 3413/3799
 FB-CA-MDL-
   00188479     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 63 at 965/3799
 FB-CA-MDL-
   00183250     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 64 at 972/3799
 FB-CA-MDL-
   00183245     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 65 at 978/3799

 FB-CA-MDL-     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
   00191995     documents/assets/facebook-sealed-exhibits.pdf
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                Exhibit 73 at 1031/3799
 FB-CA-MDL-
   00198323     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 76 at 1048/3799
 FB-CA-MDL-
   00198268     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 79 at 1102/3799
 FB-CA-MDL-
   00198236     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 80 at 1107/3799
 FB-CA-MDL-
   00197181     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 81 at 1112/3799
 FB-CA-MDL-
   00189595     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 90 at 1245/3799
 FB-CA-MDL-
   00233426     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 92 at 1259/3799
 FB-CA-MDL-
   00228319     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 104 at 1355/3799
 FB-CA-MDL-
   00199181     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 108 at 1374/3799
 FB-CA-MDL-
   00203259     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf
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                Exhibit 112 at 1387/3799
 FB-CA-MDL-
   00197243     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 115 at 1405/3799
 FB-CA-MDL-
   00198226     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 116 at 1413/3799
 FB-CA-MDL-
   00200219     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 119 at 1441/3799
 FB-CA-MDL-
   00195790     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 124 at 1455/3799
 FB-CA-MDL-
   00202384     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 129 at 1459/3799
 FB-CA-MDL-
   00202952     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 130 at 1482/3799
 FB-CA-MDL-
   00202239     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 135 at 1545/3799
 FB-CA-MDL-
   00203710     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf

                Exhibit 139 at 1570/3799
 FB-CA-MDL-
   00194166     https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                documents/assets/facebook-sealed-exhibits.pdf
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                   Exhibit 150 at 3231/3799
  FB-CA-MDL-
    00200215       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf

                   Exhibit 151 at 3236/3799
  FB-CA-MDL-
    00203464       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf

                   Exhibit 161 at 3392/3799
  FB-CA-MDL-
    00187051       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf

                   Exhibit 162 at 3400/3799
  FB-CA-MDL-
    00202398       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf

                   Exhibit 169 at 3442/3799
  FB-CA-MDL-
    00179201       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf

                   Exhibit 203 at 3707/3799
  FB-CA-MDL-
    00176216       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf

                   Exhibit 204 at 3712/3799
  FB-CA-MDL-
    00178469       https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-
                   documents/assets/facebook-sealed-exhibits.pdf


       Paragraph 6.2 of the protective order requires the parties to meet and confer by phone of
videoconference within two weeks of this letter. Plaintiffs look forward to meeting and conferring
on or before that date.
                                                      Regards,




                                                     Matthew Montgomery
                                                     mmontgomery@bfalaw.com
